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1    LAW OFFICE OF JOHN R. MANNING
2
     1111 “H” Street, Suite 204
     Sacramento, CA. 95814
3    (916) 444-3994
     Fax (916) 447-0931
4    jmanninglaw@yahoo.com
5
     Attorney for Defendant
6    HUANCHANG MA

7
                              IN THE UNITED STATES DISTRICT COURT
8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,                      )       CR NO. S-11-166 MCE
11                                                  )
            Plaintiff,                              )
12                                                  )       ORDER FOR A PRE-PLEA REPORT
                                                    )       CALCULATING MR. MA’S CRIMINAL
13   v.                                             )       HISTORY
                                                    )
14   HUANCHANG MA,                                  )       Judge: Hon. Morrison C. England
                                                    )
15                                                  )
            Defendant.                              )
16

17          UPON GOOD CAUSE SHOWN and the joint request of the Parties, it is ordered the

18   United States Probation Department draft a pre-plea report for the sole purpose of calculating

19   defendant Huanchang Ma’s criminal history.

20          IT IS SO ORDERED.

21   Dated: February 24, 2012

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23                                          _______________________________________
                                            MORRISON C. ENGLAND, JR.
24                                          UNITED STATES DISTRICT JUDGE
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